Case: 1:23-cv-02210 Document #: 1-1 Filed: 04/07/23 Page 1 of 57 PageID #:12




      EXHIBIT A
      All Law Division initial Case: 1:23-cv-02210
                               Case Management         Document
                                               Dates will             #: 1-1 Filed:Jury
                                                          be heard via12-Person
                                                                       ZOOM.        04/07/23 Page 2 of 57 PageID #:13
      For more information and Zoom Meeting IDs go to https://www.cookcountycourt.org/HOME/Zoom-Links/Agg4906_SelectTab/12
      Remote Court date: 5/23/2023 9:00 AM
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                                                                                                               IRIS Y. MARTINEZ
                                                                                                               CIRCUIT CLERK
                                                                                                               COOK COUNTY, IL
FILED DATE: 3/22/2023 2:49 PM 2023L066019




                                                                                                               2023L066019
                                                                                                               Calendar, P - 0207
                                                                                                               21978026
                                            Case: 1:23-cv-02210 Document #: 1-1 Filed: 04/07/23 Page 3 of 57 PageID #:14
FILED DATE: 3/22/2023 2:49 PM 2023L066019
                                            Case: 1:23-cv-02210 Document #: 1-1 Filed: 04/07/23 Page 4 of 57 PageID #:15
FILED DATE: 3/22/2023 2:49 PM 2023L066019
                                            Case: 1:23-cv-02210 Document #: 1-1 Filed: 04/07/23 Page 5 of 57 PageID #:16
FILED DATE: 3/22/2023 2:49 PM 2023L066019
                                            Case: 1:23-cv-02210 Document #: 1-1 Filed: 04/07/23 Page 6 of 57 PageID #:17
FILED DATE: 3/22/2023 2:49 PM 2023L066019
                                            Case: 1:23-cv-02210 Document #: 1-1 Filed: 04/07/23 Page 7 of 57 PageID #:18
FILED DATE: 3/22/2023 2:49 PM 2023L066019
                                            Case: 1:23-cv-02210 Document #: 1-1 Filed: 04/07/23 Page 8 of 57 PageID #:19
FILED DATE: 3/22/2023 2:49 PM 2023L066019
                                            Case: 1:23-cv-02210 Document #: 1-1 Filed: 04/07/23 Page 9 of 57 PageID #:20
FILED DATE: 3/22/2023 2:49 PM 2023L066019
                                            Case: 1:23-cv-02210 Document #: 1-1 Filed: 04/07/23 Page 10 of 57 PageID #:21
FILED DATE: 3/22/2023 2:49 PM 2023L066019
                                            Case: 1:23-cv-02210 Document #: 1-1 Filed: 04/07/23 Page 11 of 57 PageID #:22
FILED DATE: 3/22/2023 2:49 PM 2023L066019
                                            Case: 1:23-cv-02210 Document #: 1-1 Filed: 04/07/23 Page 12 of 57 PageID #:23
FILED DATE: 3/22/2023 2:49 PM 2023L066019
                                            Case: 1:23-cv-02210 Document #: 1-1 Filed: 04/07/23 Page 13 of 57 PageID #:24
FILED DATE: 3/22/2023 2:49 PM 2023L066019
                                            Case: 1:23-cv-02210 Document #: 1-1 Filed: 04/07/23 Page 14 of 57 PageID #:25
FILED DATE: 3/22/2023 2:49 PM 2023L066019
                                            Case: 1:23-cv-02210 Document #: 1-1 Filed: 04/07/23 Page 15 of 57 PageID #:26
FILED DATE: 3/22/2023 2:49 PM 2023L066019
                                            Case: 1:23-cv-02210 Document #: 1-1 Filed: 04/07/23 Page 16 of 57 PageID #:27
FILED DATE: 3/22/2023 2:49 PM 2023L066019
                                            Case: 1:23-cv-02210 Document #: 1-1 Filed: 04/07/23 Page 17 of 57 PageID #:28
FILED DATE: 3/22/2023 2:49 PM 2023L066019
                                            Case: 1:23-cv-02210 Document #: 1-1 Filed: 04/07/23 Page 18 of 57 PageID #:29
FILED DATE: 3/22/2023 2:49 PM 2023L066019
                                            Case: 1:23-cv-02210 Document #: 1-1 Filed: 04/07/23 Page 19 of 57 PageID #:30
FILED DATE: 3/22/2023 2:49 PM 2023L066019
                                            Case: 1:23-cv-02210 Document #: 1-1 Filed: 04/07/23 Page 20 of 57 PageID #:31
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                                            Case: 1:23-cv-02210 Document #: 1-1 Filed: 04/07/23 Page 21 of 57 PageID #:32
FILED DATE: 3/22/2023 2:49 PM 2023L066019
                                            Case: 1:23-cv-02210 Document #: 1-1 Filed: 04/07/23 Page 22 of 57 PageID #:33
FILED DATE: 3/22/2023 2:49 PM 2023L066019
                                            Case: 1:23-cv-02210 Document #: 1-1 Filed: 04/07/23 Page 23 of 57 PageID #:34
FILED DATE: 3/22/2023 2:49 PM 2023L066019
                                            Case: 1:23-cv-02210 Document #: 1-1 Filed: 04/07/23 Page 24 of 57 PageID #:35
FILED DATE: 3/22/2023 2:49 PM 2023L066019
                                            Case: 1:23-cv-02210 Document #: 1-1 Filed: 04/07/23 Page 25 of 57 PageID #:36
FILED DATE: 3/22/2023 2:49 PM 2023L066019
                                            Case: 1:23-cv-02210 Document #: 1-1 Filed: 04/07/23 Page 26 of 57 PageID #:37
FILED DATE: 3/22/2023 2:49 PM 2023L066019
                                            Case: 1:23-cv-02210 Document #: 1-1 Filed: 04/07/23 Page 27 of 57 PageID #:38
FILED DATE: 3/22/2023 2:49 PM 2023L066019
                                            Case: 1:23-cv-02210 Document #: 1-1 Filed: 04/07/23 Page 28 of 57 PageID #:39
FILED DATE: 3/22/2023 2:49 PM 2023L066019
      All Law Division initialCase:  1:23-cv-02210
                               Case Management        Document
                                               Dates will be heard via#: 1-1 Filed: 04/07/23 Page 29 of 57 PageID #:40
                                                                       ZOOM.
      For more information and Zoom Meeting IDs go to https://www.cookcountycourt.org/HOME/Zoom-Links/Agg4906_SelectTab/12
      Remote Court date: 5/23/2023 9:00 AM
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                                                                                                               COOK COUNTY, IL
FILED DATE: 3/22/2023 2:49 PM 2023L066019




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                                            Case: 1:23-cv-02210 Document #: 1-1 Filed: 04/07/23 Page 30 of 57 PageID #:41
FILED DATE: 3/22/2023 2:49 PM 2023L066019
      All Law Division initialCase:  1:23-cv-02210
                               Case Management        Document
                                               Dates will be heard via#: 1-1 Filed: 04/07/23 Page 31 of 57 PageID #:42
                                                                       ZOOM.
      For more information and Zoom Meeting IDs go to https://www.cookcountycourt.org/HOME/Zoom-Links/Agg4906_SelectTab/12
      Remote Court date: 5/23/2023 9:00 AM
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                                                                                                               CIRCUIT CLERK
                                                                                                               COOK COUNTY, IL
FILED DATE: 3/22/2023 2:49 PM 2023L066019




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                                            Case: 1:23-cv-02210 Document #: 1-1 Filed: 04/07/23 Page 32 of 57 PageID #:43
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                                            Case: 1:23-cv-02210 Document #: 1-1 Filed: 04/07/23 Page 33 of 57 PageID #:44
FILED DATE: 3/22/2023 2:49 PM 2023L066019
                                            Case: 1:23-cv-02210 Document #: 1-1 Filed: 04/07/23 Page 34 of 57 PageID #:45
FILED DATE: 3/22/2023 2:49 PM 2023L066019
                                            Case: 1:23-cv-02210 Document #: 1-1 Filed: 04/07/23 Page 35 of 57 PageID #:46
FILED DATE: 3/22/2023 2:49 PM 2023L066019
                                            Case: 1:23-cv-02210 Document #: 1-1 Filed: 04/07/23 Page 36 of 57 PageID #:47
FILED DATE: 3/22/2023 2:49 PM 2023L066019
                                            Case: 1:23-cv-02210 Document #: 1-1 Filed: 04/07/23 Page 37 of 57 PageID #:48
FILED DATE: 3/22/2023 2:49 PM 2023L066019
                                            Case: 1:23-cv-02210 Document #: 1-1 Filed: 04/07/23 Page 38 of 57 PageID #:49
FILED DATE: 3/22/2023 2:49 PM 2023L066019
                                            Case: 1:23-cv-02210 Document #: 1-1 Filed: 04/07/23 Page 39 of 57 PageID #:50
FILED DATE: 3/22/2023 2:49 PM 2023L066019
                        Case:scheduled
      Hearing Date: No hearing  1:23-cv-02210                          Document #: 1-1 Filed: 04/07/23 Page 40 of 57 PageID #:51
      Location: <<CourtRoomNumber>>
      Judge: Calendar, P - 0207
                                              2120 - Served                2121 - Served
                                              2220 - N o t Served          2221 - N o t Served 2321 -
                                              2320 - Served By Mail        Served By Mail
                                              2420 - Served By Publication 2421 - Served By
                                              Publication Summons - Alias Summons                                     (08/01/18) CCG 0001 A
FILED DATE: 3/27/2023 2:20 PM 2023L066019




                                                          I N T H E CIRCUIT C O U R T O F C O O K COUNTY, I L L I N O I S FILED
                                                                                                                          3/27/2023 2:20 PM
                                                                                                                          IRIS Y. MARTINEZ
                                                                                                                          CIRCUIT CLERK
                                              SCOTT ALLEN MILLER and TINA MILLER                                          COOK COUNTY, IL
                                                                                                                          2023L066019
                                                                        (Name all parties)                                Calendar, P - 0207
                                                     V.                                         Case No. 2023L066019      22035052
                                              RUSH UNIVERSITY MEDICAL CENTER, DR. HAREL
                                              DEUTSCH, DR. ANTHONY M. ALVARADO, ZIMMER
                                              US, INC., ZIMMER BIOMET SPINE, INC., and
                                              ZIMMER BIOMET HOLDINGS, INC.


                                                                             SUMMONS               ALIAS S U M M O N S
                                                                  Rush University Medical Center
                                                                  1700 W. Van Buren St., Suite 301
                                            To each Defendant:    Chicago, IL 60612

                                            YOU ARE SUMMONED and required to file an answer to the complaint in this case, a copy o f
                                            which is hereto attached, or otherwise file your appearance and pay the required fee within thirty (30)
                                            days after service o f this Summons, not counting the day o f service. To file your answer or
                                            appearance you need access to the Internet. Please this process. Kiosks with Internet access are
                                            available at all Clerk's Office locations. Please refer to the last page o f this document for location
                                            information.

                                            If you fail to do so, a judgment by default may be entered against you for the relief requested in the
                                            complaint.

                                            To the Officer:
                                            This Summons must be returned by the officer or other person to whom it was given for service, with
                                            endorsement o f service and fees, if any, immediately after service. I f service cannot be made, this
                                            Summons shall be returned so endorsed. This Summons may not be served later than thirty (30) days
                                            after its date.




                                                              Iris Martinez, Clerk o f the Circuit Court o f Cook County, Illinois
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                                                                                            Page 1 of 3

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                                             Case: 1:23-cv-02210 Document #: 1-1 Filed: 04/07/23 Page 41 of 57 PageID #:52

                                            ______________________________________________
                                            Summons - Alias Summons            (08/01/18) CCG 0001 B

                                            E-filing is now mandatory for documents in civil cases with limited exemptions. To e-file, you
                                            must first create an account with an e-filing service provider. Visit http://efile.illinoiscourts.gov/
                                            service-providers.htm to learn more and to select a service provider. If you need ·additional help
                                            or have trouble e-filing, visit http://www.illinoiscourts.gov/FAQ/ gethelp.asp, or talk with your
FILED DATE: 3/27/2023 2:20 PM 2023L066019




                                            local circuit clerk's office.

                                                                                                                        3/27/2023 2:20 PM IRIS Y. MARTINEZ
                                                        49089
                                            Atty. No.: ________________________                            Witness: __________________________________
                                                       Kent D. Sinson / Sinson Law Group
                                            Atty Name: ________________________________

                                                        Plaintiff
                                            Atty. for: ___________________________________
                                                                                                                 ____________________
                                                                                                                 IRIS MARTINEZ, Clerk o f Court
                                                      100 N. LaSalle Street, Suite 1100
                                            Address: ____________________________________
                                                                                                                 Date o f Service:
                                                   Chicago
                                            City: _________________________________________                      (fo be inserted by officer on copy left with
                                                    Illinois              60602                                  Defendant or other person):
                                            State: _______________ Zip: ___________________

                                                        (312) 332-2107
                                            Telephone: _________________________________
                                                           kent@sinsonlawgroup.com
                                            Primary Email: ______________________________




                                                          Iris Martinez, Clerk o f the Circuit Court o f Cook County, Illinois
                                                                              cookcountyclerkofcourt.org
                                                                                            Page 2 o f 3
                                                                                                                                         American LegalNet, Inc.
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                                              Case: 1:23-cv-02210 Document #: 1-1 Filed: 04/07/23 Page 42 of 57 PageID #:53



                                              C L E R K O F T H E CIRCUIT COURT O F COOK COUNTY O F F I C E LOCATIONS


                                                 Richard J Daley Center                               Domestic Relations Division
FILED DATE: 3/27/2023 2:20 PM 2023L066019




                                                 50 W Washington                                      Richard J Daley Center
                                                 Chicago, IL 60602                                    50 W Washington, Rm 802
                                                                                                      Chicago, IL 60602
                                                 District 2 - Skokie
                                                                                                      Hours: 8:30 am - 4:30 pm
                                                 5600 Old Orchard Rd
                                                 Skokie, IL 60077                                     Civil Appeals
                                                                                                      Richard J Daley Center
                                                 District 3 - Rolling Meadows
                                                                                                      50 W Washington, Rm 801
                                                 2121 Euclid
                                                                                                      Chicago, IL 60602
                                                 Rolling Meadows, IL 60008
                                                                                                      Hours: 8:30 am - 4:30 pm
                                                 District 4 - Maywood
                                                                                                      Criminal Department
                                                 1500 Ma y brook Ave
                                                                                                      Richard J Daley Center
                                                 Maywood, IL 60153
                                                                                                      50 W Washington, Rm 1006
                                                 District 5 - Bridgeview                              Chicago, IL 60602
                                                 10220 S 76th Ave                                     Hours: 8:30 am - 4:30 pm
                                                 Bridgeview, IL 60455
                                                                                                      County Division
                                                 District 6 - Markham                                 Richard J Daley Center
                                                 16501 S Kedzie Pkwy                                  50 W Washington, Rm 1202
                                                 Markham, IL 60428                                    Chicago, IL 60602
                                                 Domestic Violence Court                              Hours: 8:30 am - 4:30 pm
                                                 555 W Harrison                                       Probate Division
                                                 Chicago, IL 60607                                    Richard J Daley Center
                                                 Juvenile Center Building                             50 W Washington, Rm 1202
                                                 2245 W Ogden Ave, Rm 13                              Chicago, IL 60602
                                                 Chicago, IL 60602                                    Hours: 8:30 am - 4:30 pm
                                                 Criminal Court Building                              Law Division
                                                 2650 S California Ave, Rm 526                        Richard J Daley Center
                                                 Chicago, IL 60608                                    50 W Washington, Rm 801
                                                                                                      Chicago, IL 60602
                                            Daley Center Divisions/Departments                        Hours: 8:30 am - 4:30 pm
                                                 Civil Division                                       Traffic Division
                                                 Richard J Daley Center                               Richard J Daley Center
                                                 50 W Washington, Rm 601                              50 W Washington, Lower Level
                                                 Chicago, IL 60602                                    Chicago, IL 60602
                                                 Hours: 8:30 am - 4:30 pm                             Hours: 8:30 am - 4:30 pm
                                                 Chancery Division
                                                 Richard J Daley Center
                                                 50 W Washington, Rm 802
                                                 Chicago, IL 60602
                                                 Hours: 8:30 am - 4:30 pm


                                                         Iris Martinez, Clerk o f the Circuit Court of Cook County, Illinois
                                                                             cookcountyclerkofcourt.org
                                                                                        Page 3 of 3
                                                                                                                                 American LegalNet, Inc.
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                        Case:scheduled
      Hearing Date: No hearing  1:23-cv-02210                          Document #: 1-1 Filed: 04/07/23 Page 43 of 57 PageID #:54
      Location: <<CourtRoomNumber>>
      Judge: Calendar, P - 0207
                                              2120 - Served                2121 - Served                                      FILED
                                              2220 - N o t Served          2221 - N o t Served 2321 -                         3/27/2023 2:20 PM
                                                                                                                              IRIS Y. MARTINEZ
                                              2320 - Served By Mail        Served By Mail
                                                                                                                              CIRCUIT CLERK
                                              2420 - Served By Publication 2421 - Served By
                                                                                                                              COOK COUNTY, IL
                                              Publication Summons - Alias Summons                             (08/01/18) CCG      0001 A
FILED DATE: 3/27/2023 2:20 PM 2023L066019




                                                                                                                              2023L066019
                                                                                                                              Calendar, P - 0207
                                                              I N T H E CIRCUIT C O U R T O F C O O K COUNTY, I L L I N O I S 22035052



                                              SCOTT ALLEN MILLER and TINA MILLER

                                                                            (Name all parties)
                                                      V.                                                  Case No. 2023L066019
                                              RUSH UNIVERSITY MEDICAL CENTER, DR. HAREL
                                              DEUTSCH, DR. ANTHONY M. ALVARADO, ZIMMER
                                              US, INC., ZIMMER BIOMET SPINE, INC., and
                                              ZIMMER BIOMET HOLDINGS, INC.


                                                                             SUMMONS               ALIAS S U M M O N S
                                                                  Dr. Harel Deutsch
                                                                  1520 W Harrison St., 6th Floor
                                            To each Defendant:    Chicago, IL 60607

                                            YOU ARE SUMMONED and required to file an answer to the complaint in this case, a copy o f
                                            which is hereto attached, or otherwise file your appearance and pay the required fee within thirty (30)
                                            days after service o f this Summons, not counting the day o f service. To file your answer or
                                            appearance you need access to the Internet. Please this process. Kiosks with Internet access are
                                            available at all Clerk's Office locations. Please refer to the last page o f this document for location
                                            information.

                                            If you fail to do so, a judgment by default may be entered against you for the relief requested in the
                                            complaint.

                                            To the Officer:
                                            This Summons must be returned by the officer or other person to whom it was given for service, with
                                            endorsement o f service and fees, if any, immediately after service. I f service cannot be made, this
                                            Summons shall be returned so endorsed. This Summons may not be served later than thirty (30) days
                                            after its date.




                                                              Iris Martinez, Clerk o f the Circuit Court o f Cook County, Illinois
                                                                                 cookcountyclerkofcourt.or g
                                                                                            Page 1 of 3

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                                             Case: 1:23-cv-02210 Document #: 1-1 Filed: 04/07/23 Page 44 of 57 PageID #:55

                                            ______________________________________________
                                            Summons - Alias Summons            (08/01/18) CCG 0001 B

                                            E-filing is now mandatory for documents in civil cases with limited exemptions. To e-file, you
                                            must first create an account with an e-filing service provider. Visit http://efile.illinoiscourts.gov/
                                            service-providers.htm to learn more and to select a service provider. If you need ·additional help
                                            or have trouble e-filing, visit http://www.illinoiscourts.gov/FAQ/ gethelp.asp, or talk with your
FILED DATE: 3/27/2023 2:20 PM 2023L066019




                                            local circuit clerk's office.


                                                                                                                       3/27/2023 2:20 PM IRIS Y. MARTINEZ
                                                        49089
                                            Atty. No.: ________________________                            Witness: __________________________________
                                                       Kent D. Sinson / Sinson Law Group
                                            Atty Name: ________________________________

                                                        Plaintiff
                                            Atty. for: ___________________________________
                                                                                                                 ____________________
                                                                                                                 IRIS MARTINEZ, Clerk of Court
                                                      100 N. LaSalle Street, Suite 1100
                                            Address: ____________________________________
                                                                                                                 Date o f Service:
                                                   Chicago
                                            City: _________________________________________                      (to be inserted by officer on copy left with
                                                    Illinois              60602                                  Defendant or other person):
                                            State: _______________ Zip: ___________________

                                                        (312) 332-2107
                                            Telephone: _________________________________
                                                           kent@sinsonlawgroup.com
                                            Primary Email: ______________________________




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                                              Case: 1:23-cv-02210 Document #: 1-1 Filed: 04/07/23 Page 45 of 57 PageID #:56



                                              C L E R K O F T H E CIRCUIT COURT O F COOK COUNTY O F F I C E LOCATIONS


                                                 Richard J Daley Center                               Domestic Relations Division
FILED DATE: 3/27/2023 2:20 PM 2023L066019




                                                 50 W Washington                                      Richard J Daley Center
                                                 Chicago, IL 60602                                    50 W Washington, Rm 802
                                                                                                      Chicago, IL 60602
                                                 District 2 - Skokie
                                                                                                      Hours: 8:30 am - 4:30 pm
                                                 5600 Old Orchard Rd
                                                 Skokie, IL 60077                                     Civil Appeals
                                                                                                      Richard J Daley Center
                                                 District 3 - Rolling Meadows
                                                                                                      50 W Washington, Rm 801
                                                 2121 Euclid
                                                                                                      Chicago, IL 60602
                                                 Rolling Meadows, IL 60008
                                                                                                      Hours: 8:30 am - 4:30 pm
                                                 District 4 - Maywood
                                                                                                      Criminal Department
                                                 1500 Ma y brook Ave
                                                                                                      Richard J Daley Center
                                                 Maywood, IL 60153
                                                                                                      50 W Washington, Rm 1006
                                                 District 5 - Bridgeview                              Chicago, IL 60602
                                                 10220 S 76th Ave                                     Hours: 8:30 am - 4:30 pm
                                                 Bridgeview, IL 60455
                                                                                                      County Division
                                                 District 6 - Markham                                 Richard J Daley Center
                                                 16501 S Kedzie Pkwy                                  50 W Washington, Rm 1202
                                                 Markham, IL 60428                                    Chicago, IL 60602
                                                 Domestic Violence Court                              Hours: 8:30 am - 4:30 pm
                                                 555 W Harrison                                       Probate Division
                                                 Chicago, IL 60607                                    Richard J Daley Center
                                                 Juvenile Center Building                             50 W Washington, Rm 1202
                                                 2245 W Ogden Ave, Rm 13                              Chicago, IL 60602
                                                 Chicago, IL 60602                                    Hours: 8:30 am - 4:30 pm
                                                 Criminal Court Building                              Law Division
                                                 2650 S California Ave, Rm 526                        Richard J Daley Center
                                                 Chicago, IL 60608                                    50 W Washington, Rm 801
                                                                                                      Chicago, IL 60602
                                            Daley Center Divisions/Departments                        Hours: 8:30 am - 4:30 pm
                                                 Civil Division                                       Traffic Division
                                                 Richard J Daley Center                               Richard J Daley Center
                                                 50 W Washington, Rm 601                              50 W Washington, Lower Level
                                                 Chicago, IL 60602                                    Chicago, IL 60602
                                                 Hours: 8:30 am - 4:30 pm                             Hours: 8:30 am - 4:30 pm
                                                 Chancery Division
                                                 Richard J Daley Center
                                                 50 W Washington, Rm 802
                                                 Chicago, IL 60602
                                                 Hours: 8:30 am - 4:30 pm


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                                                                                        Page 3 of 3
                                                                                                                                 American LegalNet, Inc.
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                        Case:scheduled
      Hearing Date: No hearing  1:23-cv-02210                          Document #: 1-1 Filed: 04/07/23 Page 46 of 57 PageID #:57
      Location: <<CourtRoomNumber>>
      Judge: Calendar, P - 0207
                                              2120 - Served                2121 - Served
                                              2220 - N o t Served          2221 - N o t Served 2321 -
                                              2320 - Served By Mail        Served By Mail
                                              2420 - Served By Publication 2421 - Served By
                                              Publication Summons - Alias Summons                                     (08/01/18) CCG 0001 A
FILED DATE: 3/27/2023 2:20 PM 2023L066019




                                                          I N T H E CIRCUIT C O U R T O F C O O K COUNTY, I L L I N O I S FILED
                                                                                                                          3/27/2023 2:20 PM
                                                                                                                          IRIS Y. MARTINEZ
                                                                                                                          CIRCUIT CLERK
                                                                                                                          COOK COUNTY, IL
                                              SCOTT ALLEN MILLER and TINA MILLER
                                                                                                                          2023L066019
                                                                        (Name all parties)                                Calendar, P - 0207
                                                     V.                                         Case No. 2023L066019      22035052

                                              RUSH UNIVERSITY MEDICAL CENTER, DR. HAREL
                                              DEUTSCH, DR. ANTHONY M. ALVARADO, ZIMMER
                                              US, INC., ZIMMER BIOMET SPINE, INC., and
                                              ZIMMER BIOMET HOLDINGS, INC.


                                                                             SUMMONS               ALIAS S U M M O N S
                                                                  Dr. Anthony Alvarado
                                                                  1520 W. Harrison St., 6th Floor
                                            To each Defendant:    Chicago, IL 60607

                                            YOU ARE SUMMONED and required to file an answer to the complaint in this case, a copy o f
                                            which is hereto attached, or otherwise file your appearance and pay the required fee within thirty (30)
                                            days after service o f this Summons, not counting the day o f service. To file your answer or
                                            appearance you need access to the Internet. Please this process. Kiosks with Internet access are
                                            available at all Clerk's Office locations. Please refer to the last page o f this document for location
                                            information.

                                            If you fail to do so, a judgment by default may be entered against you for the relief requested in the
                                            complaint.

                                            To the Officer:
                                            This Summons must be returned by the officer or other person to whom it was given for service, with
                                            endorsement o f service and fees, if any, immediately after service. I f service cannot be made, this
                                            Summons shall be returned so endorsed. This Summons may not be served later than thirty (30) days
                                            after its date.




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                                            ______________________________________________
                                            Summons - Alias Summons            (08/01/18) CCG 0001 B

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                                            or have trouble e-filing, visit http://www.illinoiscourts.gov/FAQ/ gethelp.asp, or talk with your
FILED DATE: 3/27/2023 2:20 PM 2023L066019




                                            local circuit clerk's office.

                                                                                                                    3/27/2023 2:20 PM IRIS Y. MARTINEZ

                                                        49089
                                            Atty. No.: ________________________                            Witness: __________________________________
                                                       Kent D. Sinson / Sinson Law Group
                                            Atty Name: ________________________________

                                                        Plaintiff
                                            Atty. for: ___________________________________
                                                                                                                 ____________________
                                                                                                                 IRIS MARTINEZ, Clerk of Court
                                                      100 N. LaSalle Street, Suite 1100
                                            Address: ____________________________________
                                                                                                                 Date o f Service:
                                                   Chicago
                                            City: _________________________________________                      (to be inserted by officer on copy left with
                                                    Illinois              60602                                  Defendant or other person):
                                            State: _______________ Zip: ___________________

                                                        (312) 332-2107
                                            Telephone: _________________________________
                                                           kent@sinsonlawgroup.com
                                            Primary Email: ______________________________




                                                          Iris Martinez, Clerk o f the Circuit Court o f Cook County, Illinois
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                                              C L E R K O F T H E CIRCUIT COURT O F COOK COUNTY O F F I C E LOCATIONS


                                                 Richard J Daley Center                               Domestic Relations Division
FILED DATE: 3/27/2023 2:20 PM 2023L066019




                                                 50 W Washington                                      Richard J Daley Center
                                                 Chicago, IL 60602                                    50 W Washington, Rm 802
                                                                                                      Chicago, IL 60602
                                                 District 2 - Skokie
                                                                                                      Hours: 8:30 am - 4:30 pm
                                                 5600 Old Orchard Rd
                                                 Skokie, IL 60077                                     Civil Appeals
                                                                                                      Richard J Daley Center
                                                 District 3 - Rolling Meadows
                                                                                                      50 W Washington, Rm 801
                                                 2121 Euclid
                                                                                                      Chicago, IL 60602
                                                 Rolling Meadows, IL 60008
                                                                                                      Hours: 8:30 am - 4:30 pm
                                                 District 4 - Maywood
                                                                                                      Criminal Department
                                                 1500 Ma y brook Ave
                                                                                                      Richard J Daley Center
                                                 Maywood, IL 60153
                                                                                                      50 W Washington, Rm 1006
                                                 District 5 - Bridgeview                              Chicago, IL 60602
                                                 10220 S 76th Ave                                     Hours: 8:30 am - 4:30 pm
                                                 Bridgeview, IL 60455
                                                                                                      County Division
                                                 District 6 - Markham                                 Richard J Daley Center
                                                 16501 S Kedzie Pkwy                                  50 W Washington, Rm 1202
                                                 Markham, IL 60428                                    Chicago, IL 60602
                                                 Domestic Violence Court                              Hours: 8:30 am - 4:30 pm
                                                 555 W Harrison                                       Probate Division
                                                 Chicago, IL 60607                                    Richard J Daley Center
                                                 Juvenile Center Building                             50 W Washington, Rm 1202
                                                 2245 W Ogden Ave, Rm 13                              Chicago, IL 60602
                                                 Chicago, IL 60602                                    Hours: 8:30 am - 4:30 pm
                                                 Criminal Court Building                              Law Division
                                                 2650 S California Ave, Rm 526                        Richard J Daley Center
                                                 Chicago, IL 60608                                    50 W Washington, Rm 801
                                                                                                      Chicago, IL 60602
                                            Daley Center Divisions/Departments                        Hours: 8:30 am - 4:30 pm
                                                 Civil Division                                       Traffic Division
                                                 Richard J Daley Center                               Richard J Daley Center
                                                 50 W Washington, Rm 601                              50 W Washington, Lower Level
                                                 Chicago, IL 60602                                    Chicago, IL 60602
                                                 Hours: 8:30 am - 4:30 pm                             Hours: 8:30 am - 4:30 pm
                                                 Chancery Division
                                                 Richard J Daley Center
                                                 50 W Washington, Rm 802
                                                 Chicago, IL 60602
                                                 Hours: 8:30 am - 4:30 pm


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                        Case:scheduled
      Hearing Date: No hearing  1:23-cv-02210                          Document #: 1-1 Filed: 04/07/23 Page 49 of 57 PageID #:60
      Location: <<CourtRoomNumber>>
      Judge: Calendar, P - 0207
                                              2120 - Served                2121 - Served
                                              2220 - N o t Served          2221 - N o t Served 2321 -
                                              2320 - Served By Mail        Served By Mail
                                              2420 - Served By Publication 2421 - Served By
                                              Publication Summons - Alias Summons                                     (08/01/18) CCG 0001 A
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                                                              I N T H E CIRCUIT C O U R T O F C O O K COUNTY, I L L I N O I S
                                                                                                                                     FILED
                                                                                                                                     3/27/2023 2:20 PM
                                                                                                                                     IRIS Y. MARTINEZ
                                              SCOTT ALLEN MILLER and TINA MILLER                                                     CIRCUIT CLERK
                                                                                                                                     COOK COUNTY, IL
                                                                            (Name all parties)                                       2023L066019
                                                      V.                                                  Case No. 2023L066019       Calendar, P - 0207
                                                                                                                                     22035052
                                              RUSH UNIVERSITY MEDICAL CENTER, DR. HAREL
                                              DEUTSCH, DR. ANTHONY M. ALVARADO, ZIMMER
                                              US, INC., ZIMMER BIOMET SPINE, INC., and
                                              ZIMMER BIOMET HOLDINGS, INC.


                                                                             SUMMONS               ALIAS S U M M O N S
                                                                  Zimmer US, Inc.
                                                                  Corporate Headquarters
                                            To each Defendant:    1800 W. Center St.
                                                                  Warsaw, IN 46580
                                            YOU ARE SUMMONED and required to file an answer to the complaint in this case, a copy o f
                                            which is hereto attached, or otherwise file your appearance and pay the required fee within thirty (30)
                                            days after service o f this Summons, not counting the day o f service. To file your answer or
                                            appearance you need access to the Internet. Please this process. Kiosks with Internet access are
                                            available at all Clerk's Office locations. Please refer to the last page o f this document for location
                                            information.

                                            If you fail to do so, a judgment by default may be entered against you for the relief requested in the
                                            complaint.

                                            To the Officer:
                                            This Summons must be returned by the officer or other person to whom it was given for service, with
                                            endorsement o f service and fees, if any, immediately after service. I f service cannot be made, this
                                            Summons shall be returned so endorsed. This Summons may not be served later than thirty (30) days
                                            after its date.




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                                            ______________________________________________
                                            Summons - Alias Summons            (08/01/18) CCG 0001 B

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                                            or have trouble e-filing, visit http://www.illinoiscourts.gov/FAQ/ gethelp.asp, or talk with your
FILED DATE: 3/27/2023 2:20 PM 2023L066019




                                            local circuit clerk's office.

                                                                                                                       3/27/2023 2:20 PM IRIS Y. MARTINEZ

                                                        49089
                                            Atty. No.: ________________________                            Witness: __________________________________
                                                       Kent D. Sinson / Sinson Law Group
                                            Atty Name: ________________________________

                                                        Plaintiff
                                            Atty. for: ___________________________________
                                                                                                                 ____________________
                                                                                                                 IRIS MARTINEZ, Clerk of Court
                                                      100 N. LaSalle Street, Suite 1100
                                            Address: ____________________________________
                                                                                                                 Date o f Service:
                                                   Chicago
                                            City: _________________________________________                      (to be inserted by officer on copy left with
                                                    Illinois              60602                                  Defendant or other person):
                                            State: _______________ Zip: ___________________

                                                        (312) 332-2107
                                            Telephone: _________________________________
                                                           kent@sinsonlawgroup.com
                                            Primary Email: ______________________________




                                                          Iris Martinez, Clerk o f the Circuit Court o f Cook County, Illinois
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                                              C L E R K O F T H E CIRCUIT COURT O F COOK COUNTY O F F I C E LOCATIONS


                                                 Richard J Daley Center                               Domestic Relations Division
FILED DATE: 3/27/2023 2:20 PM 2023L066019




                                                 50 W Washington                                      Richard J Daley Center
                                                 Chicago, IL 60602                                    50 W Washington, Rm 802
                                                                                                      Chicago, IL 60602
                                                 District 2 - Skokie
                                                                                                      Hours: 8:30 am - 4:30 pm
                                                 5600 Old Orchard Rd
                                                 Skokie, IL 60077                                     Civil Appeals
                                                                                                      Richard J Daley Center
                                                 District 3 - Rolling Meadows
                                                                                                      50 W Washington, Rm 801
                                                 2121 Euclid
                                                                                                      Chicago, IL 60602
                                                 Rolling Meadows, IL 60008
                                                                                                      Hours: 8:30 am - 4:30 pm
                                                 District 4 - Maywood
                                                                                                      Criminal Department
                                                 1500 Ma y brook Ave
                                                                                                      Richard J Daley Center
                                                 Maywood, IL 60153
                                                                                                      50 W Washington, Rm 1006
                                                 District 5 - Bridgeview                              Chicago, IL 60602
                                                 10220 S 76th Ave                                     Hours: 8:30 am - 4:30 pm
                                                 Bridgeview, IL 60455
                                                                                                      County Division
                                                 District 6 - Markham                                 Richard J Daley Center
                                                 16501 S Kedzie Pkwy                                  50 W Washington, Rm 1202
                                                 Markham, IL 60428                                    Chicago, IL 60602
                                                 Domestic Violence Court                              Hours: 8:30 am - 4:30 pm
                                                 555 W Harrison                                       Probate Division
                                                 Chicago, IL 60607                                    Richard J Daley Center
                                                 Juvenile Center Building                             50 W Washington, Rm 1202
                                                 2245 W Ogden Ave, Rm 13                              Chicago, IL 60602
                                                 Chicago, IL 60602                                    Hours: 8:30 am - 4:30 pm
                                                 Criminal Court Building                              Law Division
                                                 2650 S California Ave, Rm 526                        Richard J Daley Center
                                                 Chicago, IL 60608                                    50 W Washington, Rm 801
                                                                                                      Chicago, IL 60602
                                            Daley Center Divisions/Departments                        Hours: 8:30 am - 4:30 pm
                                                 Civil Division                                       Traffic Division
                                                 Richard J Daley Center                               Richard J Daley Center
                                                 50 W Washington, Rm 601                              50 W Washington, Lower Level
                                                 Chicago, IL 60602                                    Chicago, IL 60602
                                                 Hours: 8:30 am - 4:30 pm                             Hours: 8:30 am - 4:30 pm
                                                 Chancery Division
                                                 Richard J Daley Center
                                                 50 W Washington, Rm 802
                                                 Chicago, IL 60602
                                                 Hours: 8:30 am - 4:30 pm


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                        Case:scheduled
      Hearing Date: No hearing  1:23-cv-02210                          Document #: 1-1 Filed: 04/07/23 Page 52 of 57 PageID #:63
      Location: <<CourtRoomNumber>>
      Judge: Calendar, P - 0207
                                              2120 - Served                2121 - Served
                                              2220 - N o t Served          2221 - N o t Served 2321 -
                                              2320 - Served By Mail        Served By Mail
                                              2420 - Served By Publication 2421 - Served By
                                              Publication Summons - Alias Summons                                     (08/01/18) CCG 0001 A
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                                                              I N T H E CIRCUIT C O U R T O F C O O K COUNTY, I L L I N O I S

                                                                                                                                     FILED
                                                                                                                                     3/27/2023 2:20 PM
                                              SCOTT ALLEN MILLER and TINA MILLER                                                     IRIS Y. MARTINEZ
                                                                                                                                     CIRCUIT CLERK
                                                                            (Name all parties)                                       COOK COUNTY, IL
                                                      V.                                                  Case No. 2023L066019       2023L066019
                                                                                                                                     Calendar, P - 0207
                                              RUSH UNIVERSITY MEDICAL CENTER, DR. HAREL                                              22035052
                                              DEUTSCH, DR. ANTHONY M. ALVARADO, ZIMMER
                                              US, INC., ZIMMER BIOMET SPINE, INC., and
                                              ZIMMER BIOMET HOLDINGS, INC.


                                                                             SUMMONS               ALIAS S U M M O N S
                                                                  Zimmer Biomet Spine, Inc.
                                                                  Corporate Headquarters
                                            To each Defendant:    1800 W. Center St.
                                                                  Warsaw, IN 46580
                                            YOU ARE SUMMONED and required to file an answer to the complaint in this case, a copy o f
                                            which is hereto attached, or otherwise file your appearance and pay the required fee within thirty (30)
                                            days after service o f this Summons, not counting the day o f service. To file your answer or
                                            appearance you need access to the Internet. Please this process. Kiosks with Internet access are
                                            available at all Clerk's Office locations. Please refer to the last page o f this document for location
                                            information.

                                            If you fail to do so, a judgment by default may be entered against you for the relief requested in the
                                            complaint.

                                            To the Officer:
                                            This Summons must be returned by the officer or other person to whom it was given for service, with
                                            endorsement o f service and fees, if any, immediately after service. I f service cannot be made, this
                                            Summons shall be returned so endorsed. This Summons may not be served later than thirty (30) days
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                                            local circuit clerk's office.


                                                                                                                      3/27/2023 2:20 PM IRIS Y. MARTINEZ
                                                        49089
                                            Atty. No.: ________________________                            Witness: __________________________________
                                                       Kent D. Sinson / Sinson Law Group
                                            Atty Name: ________________________________

                                                        Plaintiff
                                            Atty. for: ___________________________________
                                                                                                                 ____________________
                                                                                                                 IRIS MARTINEZ, Clerk of Court
                                                      100 N. LaSalle Street, Suite 1100
                                            Address: ____________________________________
                                                                                                                 Date o f Service:
                                                   Chicago
                                            City: _________________________________________                      (to be inserted by officer on copy left with
                                                    Illinois              60602                                  Defendant or other person):
                                            State: _______________ Zip: ___________________

                                                        (312) 332-2107
                                            Telephone: _________________________________
                                                           kent@sinsonlawgroup.com
                                            Primary Email: ______________________________




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                                              C L E R K O F T H E CIRCUIT COURT O F COOK COUNTY O F F I C E LOCATIONS


                                                 Richard J Daley Center                               Domestic Relations Division
FILED DATE: 3/27/2023 2:20 PM 2023L066019




                                                 50 W Washington                                      Richard J Daley Center
                                                 Chicago, IL 60602                                    50 W Washington, Rm 802
                                                                                                      Chicago, IL 60602
                                                 District 2 - Skokie
                                                                                                      Hours: 8:30 am - 4:30 pm
                                                 5600 Old Orchard Rd
                                                 Skokie, IL 60077                                     Civil Appeals
                                                                                                      Richard J Daley Center
                                                 District 3 - Rolling Meadows
                                                                                                      50 W Washington, Rm 801
                                                 2121 Euclid
                                                                                                      Chicago, IL 60602
                                                 Rolling Meadows, IL 60008
                                                                                                      Hours: 8:30 am - 4:30 pm
                                                 District 4 - Maywood
                                                                                                      Criminal Department
                                                 1500 Ma y brook Ave
                                                                                                      Richard J Daley Center
                                                 Maywood, IL 60153
                                                                                                      50 W Washington, Rm 1006
                                                 District 5 - Bridgeview                              Chicago, IL 60602
                                                 10220 S 76th Ave                                     Hours: 8:30 am - 4:30 pm
                                                 Bridgeview, IL 60455
                                                                                                      County Division
                                                 District 6 - Markham                                 Richard J Daley Center
                                                 16501 S Kedzie Pkwy                                  50 W Washington, Rm 1202
                                                 Markham, IL 60428                                    Chicago, IL 60602
                                                 Domestic Violence Court                              Hours: 8:30 am - 4:30 pm
                                                 555 W Harrison                                       Probate Division
                                                 Chicago, IL 60607                                    Richard J Daley Center
                                                 Juvenile Center Building                             50 W Washington, Rm 1202
                                                 2245 W Ogden Ave, Rm 13                              Chicago, IL 60602
                                                 Chicago, IL 60602                                    Hours: 8:30 am - 4:30 pm
                                                 Criminal Court Building                              Law Division
                                                 2650 S California Ave, Rm 526                        Richard J Daley Center
                                                 Chicago, IL 60608                                    50 W Washington, Rm 801
                                                                                                      Chicago, IL 60602
                                            Daley Center Divisions/Departments                        Hours: 8:30 am - 4:30 pm
                                                 Civil Division                                       Traffic Division
                                                 Richard J Daley Center                               Richard J Daley Center
                                                 50 W Washington, Rm 601                              50 W Washington, Lower Level
                                                 Chicago, IL 60602                                    Chicago, IL 60602
                                                 Hours: 8:30 am - 4:30 pm                             Hours: 8:30 am - 4:30 pm
                                                 Chancery Division
                                                 Richard J Daley Center
                                                 50 W Washington, Rm 802
                                                 Chicago, IL 60602
                                                 Hours: 8:30 am - 4:30 pm


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                        Case:scheduled
      Hearing Date: No hearing  1:23-cv-02210                          Document #: 1-1 Filed: 04/07/23 Page 55 of 57 PageID #:66
      Location: <<CourtRoomNumber>>
      Judge: Calendar, P - 0207
                                              2120 - Served                2121 - Served
                                              2220 - N o t Served          2221 - N o t Served 2321 -
                                              2320 - Served By Mail        Served By Mail
                                              2420 - Served By Publication 2421 - Served By
                                              Publication Summons - Alias Summons                                      (08/01/18) CCG 0001 A
FILED DATE: 3/27/2023 2:20 PM 2023L066019




                                                          I N T H E CIRCUIT C O U R T O F C O O K COUNTY, I L L I N O I S FILED
                                                                                                                          3/27/2023 2:20 PM
                                                                                                                          IRIS Y. MARTINEZ
                                                                                                                          CIRCUIT CLERK
                                                                                                                          COOK COUNTY, IL
                                              SCOTT ALLEN MILLER and TINA MILLER
                                                                                                                          2023L066019
                                                                        (Name all parties)                                Calendar, P - 0207
                                                     V.                                         Case No. 2023L066019      22035052

                                              RUSH UNIVERSITY MEDICAL CENTER, DR. HAREL
                                              DEUTSCH, DR. ANTHONY M. ALVARADO, ZIMMER
                                              US, INC., ZIMMER BIOMET SPINE, INC., and
                                              ZIMMER BIOMET HOLDINGS, INC.


                                                                            S U M M O N S           ALIAS S U M M O N S
                                                                  Zimmer Biomet Holdings, Inc.
                                                                  Corporate Headquarters
                                            To each Defendant:    1800 W. Center St.
                                                                  Warsaw, IN 46580
                                            YOU ARE SUMMONED and required to file an answer to the complaint in this case, a copy o f
                                            which is hereto attached, or otherwise file your appearance and pay the required fee within thirty (30)
                                            days after service o f this Summons, not counting the day o f service. To file your answer or
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                                            If you fail to do so, a judgment by default may be entered against you for the relief requested in the
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                                            ______________________________________________
                                            Summons - Alias Summons            (08/01/18) CCG 0001 B

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FILED DATE: 3/27/2023 2:20 PM 2023L066019




                                            local circuit clerk's office.

                                                                                                                      3/27/2023 2:20 PM IRIS Y. MARTINEZ

                                                        49089
                                            Atty. No.: ________________________                            Witness: __________________________________
                                                       Kent D. Sinson / Sinson Law Group
                                            Atty Name: ________________________________

                                                        Plaintiff
                                            Atty. for: ___________________________________
                                                                                                                 ____________________
                                                                                                                 IRIS MARTINEZ, Clerk of Court
                                                      100 N. LaSalle Street, Suite 1100
                                            Address: ____________________________________
                                                                                                                 Date o f Service:
                                                   Chicago
                                            City: _________________________________________                      (to be inserted by officer on copy left with
                                                    Illinois              60602                                  Defendant or other person):
                                            State: _______________ Zip: ___________________

                                                        (312) 332-2107
                                            Telephone: _________________________________
                                                           kent@sinsonlawgroup.com
                                            Primary Email: ______________________________




                                                          Iris Martinez, Clerk o f the Circuit Court o f Cook County, Illinois
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                                              C L E R K O F T H E CIRCUIT COURT O F COOK COUNTY O F F I C E LOCATIONS


                                                 Richard J Daley Center                               Domestic Relations Division
FILED DATE: 3/27/2023 2:20 PM 2023L066019




                                                 50 W Washington                                      Richard J Daley Center
                                                 Chicago, IL 60602                                    50 W Washington, Rm 802
                                                                                                      Chicago, IL 60602
                                                 District 2 - Skokie
                                                                                                      Hours: 8:30 am - 4:30 pm
                                                 5600 Old Orchard Rd
                                                 Skokie, IL 60077                                     Civil Appeals
                                                                                                      Richard J Daley Center
                                                 District 3 - Rolling Meadows
                                                                                                      50 W Washington, Rm 801
                                                 2121 Euclid
                                                                                                      Chicago, IL 60602
                                                 Rolling Meadows, IL 60008
                                                                                                      Hours: 8:30 am - 4:30 pm
                                                 District 4 - Maywood
                                                                                                      Criminal Department
                                                 1500 Ma y brook Ave
                                                                                                      Richard J Daley Center
                                                 Maywood, IL 60153
                                                                                                      50 W Washington, Rm 1006
                                                 District 5 - Bridgeview                              Chicago, IL 60602
                                                 10220 S 76th Ave                                     Hours: 8:30 am - 4:30 pm
                                                 Bridgeview, IL 60455
                                                                                                      County Division
                                                 District 6 - Markham                                 Richard J Daley Center
                                                 16501 S Kedzie Pkwy                                  50 W Washington, Rm 1202
                                                 Markham, IL 60428                                    Chicago, IL 60602
                                                 Domestic Violence Court                              Hours: 8:30 am - 4:30 pm
                                                 555 W Harrison                                       Probate Division
                                                 Chicago, IL 60607                                    Richard J Daley Center
                                                 Juvenile Center Building                             50 W Washington, Rm 1202
                                                 2245 W Ogden Ave, Rm 13                              Chicago, IL 60602
                                                 Chicago, IL 60602                                    Hours: 8:30 am - 4:30 pm
                                                 Criminal Court Building                              Law Division
                                                 2650 S California Ave, Rm 526                        Richard J Daley Center
                                                 Chicago, IL 60608                                    50 W Washington, Rm 801
                                                                                                      Chicago, IL 60602
                                            Daley Center Divisions/Departments                        Hours: 8:30 am - 4:30 pm
                                                 Civil Division                                       Traffic Division
                                                 Richard J Daley Center                               Richard J Daley Center
                                                 50 W Washington, Rm 601                              50 W Washington, Lower Level
                                                 Chicago, IL 60602                                    Chicago, IL 60602
                                                 Hours: 8:30 am - 4:30 pm                             Hours: 8:30 am - 4:30 pm
                                                 Chancery Division
                                                 Richard J Daley Center
                                                 50 W Washington, Rm 802
                                                 Chicago, IL 60602
                                                 Hours: 8:30 am - 4:30 pm


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